Case 1:19-cr-20450-RNS Document 146-8 Entered on FLSD Docket 10/13/2022 Page 1 of 10




                          EXHIBIT G
Case 1:19-cr-20450-RNS Document 146-8 Entered on FLSD Docket 10/13/2022 Page 2 of 10




                                                                                             15th June 2022




  Dear Sirs,

  Re: Spanish into English Certified Translation

  Language Reach Limited is a UK-registered professional translation and interpreting
  company and a fully qualified registered member of The Association of Translation
  Companies (Member No. 2018ATCR1238). We hereby confirm that we have
  translated the enclosed document(s) from Spanish into English.

  As a responsible translation agency we only employ certified linguists to work with
  us. We are satisfied with the linguistic accuracy and hereby confirm that the English
  written translation of the Spanish document(s) represents its fair and accurate
  linguistic message as intended in the original file(s).

  We hereby confirm that this is a true and correct translation and certify the linguistic
  accuracy.

  For more information, please contact Language Reach Limited on +44 (0) 208 677
  3775.

  Yours sincerely,




  Aniello Attianese
  Senior Account Manager




         Registered in England & Wales 07635166 Tel: +44 (0) 208 677 3775 Email: info@languagereach.com       15/06/2022
                            Address: Unit F11B, Parkhall Business Centre, London, SE21 8EN
Case 1:19-cr-20450-RNS Document 146-8 Entered on FLSD Docket 10/13/2022 Page 3 of 10



             (Emblem)
     The Ministry of Popular Power for
     Foreign Affairs
     Of the Bolivarian Republic of Venezuela

     DM No. 000170


             The Ministry of People's Power for Foreign Affairs of the Bolivarian Republic of
     Venezuela, addresses the Department of State of the United States of America, in the opportunity and
     occasion to report that the Government of the Bolivarian Republic of Venezuela appointed the
     Venezuelan citizen Alex Nain Saab Morán, holder of Venezuelan I.D. No. V - 21,495,350, as Special
     Envoy "... with broad powers to carry out negotiations on behalf of the Bolivarian Republic of
     Venezuela, aimed at guaranteeing the commercial and humanitarian procurement of essential goods
     and services, intended for the social assistance programmes of the National Executive ... ", as shown in
     the attached Credential, dated 9 April 2018, signed by the Minister of People's Power for Foreign Affairs
     of the Bolivarian Republic of Venezuela.


             In addition, the Government of the Bolivarian Republic of Venezuela appointed Alex Nain
     Saab Morán as an Ambassador, the Alternate Permanent Representative of the Bolivarian
     Republic of Venezuela to the African Union (AU), based in Addis Ababa (Ethiopia), by means of a
     Resolution of the Minister of Popular Power for Foreign Affairs DM No. 380, dated 24 December 2020,
     which was notified to the Venezuelan diplomat on 28 December 2020, as shown in the appendix in the
     letter identified under DM No. 001578. The Ambassador Saab Morán is the holder of Diplomatic
     Passport number 045778720, date of issue 23 March 2020 and date of expiration 22 March 2022.



     To:
     The Department of State
     United States of America
     Washington, D.C.-




                                                                                                   (Stamp)
                                                              BOLIVARIAN REPUBLIC OF VENEZUELA
                                                                             OFFICE OF THE MINISTER
                                                             Ministry of People's Power for Foreign Affairs




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Case 1:19-cr-20450-RNS Document 146-8 Entered on FLSD Docket 10/13/2022 Page 4 of 10



     (Emblem)
     The Ministry of Popular Power for
     Foreign Affairs
     Of the Bolivarian Republic of Venezuela




             It should be noted that on 1 April 2020, the Minister of People's Power for Foreign Affairs of
     the Bolivarian Republic of Venezuela asked Alex Nain Saab Morán, "... in his capacity as Special
     Envoy, (to carry out) negotiations aimed at guaranteeing the humanitarian supply of supplies of great
     need for our country in the context of the COVID-19 pandemic ... ".



             Consequently, His Excellency Mr. Alex Nain Saab Morán is, by virtue of his status as a
     diplomatic official, protected by diplomatic immunity and inviolability, as stated under Article 29 of
     the Vienna Convention on Diplomatic Relations, dated 18 April 1961: "... The person who is a
     diplomatic agent is inviolable. He may not be the object of any form of detention or arrest ...".



             Despite the protection, immunities and privileges that the Venezuelan Alternate Representative
     Ambassador Alex Nain Saab Morán should have enjoyed, the government of the United States of
     America and the government of the Republic of Cape Verde decided, in a frank and forthright violation
     of International Law, to illegally detain the Venezuelan official at Amilcar Cabral Airport, on the island
     of Sal, Cape Verde, on 12 June 2020, based on a false red alert from Interpol, which is publicly known
     to have been issued on 13 June 2020.



             On 16 October 2021, violating all the principles of International Law, the government of the
     United States of America, with the complicity of the authorities of the Republic of Cape Verde, carried
     out the kidnapping of the Venezuelan diplomat Alex Nain Saab Morán, leading to the coercion and
     force onto a plane to U.S. territory, without any judicial order from Cape Verde, and without the family
     of the Venezuelan citizen or lawyers being informed.




                                                                                                    (Stamp)
                                                               BOLIVARIAN REPUBLIC OF VENEZUELA
                                                                              OFFICE OF THE MINISTER
                                                              Ministry of People's Power for Foreign Affairs


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Case 1:19-cr-20450-RNS Document 146-8 Entered on FLSD Docket 10/13/2022 Page 5 of 10



             (Emblem)
     The Ministry of Popular Power for
     Foreign Affairs
     Of the Bolivarian Republic of Venezuela




             The Ministry of People's Power for Foreign Affairs of the Bolivarian Republic of
     Venezuela takes the opportunity and avails itself to express to the Department of State of the United
     States of America its firm position of adherence to International Law.



                                                              Caracas, 22 October 2021




                                                                                                   (Stamp)
                                                              BOLIVARIAN REPUBLIC OF VENEZUELA
                                                                             OFFICE OF THE MINISTER
                                                             Ministry of People's Power for Foreign Affairs




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Case 1:19-cr-20450-RNS Document 146-8 Entered on FLSD Docket 10/13/2022 Page 6 of 10




                                                  Ministry of the Popular Power        Office
                                                  for Foreign Affairs                  for Consular Affairs


                                                                                                    No. H25L05P22500X05
                                                                APOSTILLE
                                                   (Convention de la Haye du 5 octobre 1961)
          1. Country: Venezuela
             This public document
          2. has been signed by               FELIX RAMON PLASENCIA GONZALEZ
          3. acting in the capacity of        MINISTER OF THE POPULAR POWER FOR
                                              EXTERNAL AFFAIRS
          4. bears the seal/stamp of:         Ministry of the Popular Power for
                                              External Affairs
                                                 Certified
          5. in CARACAS                       6. on 24-05-2022
          7. By the Ministry of the Popular Power for Foreign Affairs
          8. No. H25L05P22500X05

                                        BOLIVARIAN REPUBLIC
                                           OF VENEZUELA

          9. Seal/stamp:                  MINISTRY OF THE         10. Signature                  [Illegible]
                                        POPULAR POWER FOR
                                          FOREIGN AFFAIRS

                                           LEGALISATIONS
                                            DEPARTMENT




                                                                   MARCO ANTONIO MAGALLANES GRILLET
                                                                       General Director of the Consular Affairs Office, as per
 BOLIVARIAN REPUBLIC OF
       VENEZUELA
                                                                       Resolution No. 013 of 6 September 2021, published in
                                                                  the Official Gazette of the Bolivarian Republic of Venezuela No.
    MINISTRY OF THE                                                                 42.206 of 06 September 2021
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Case 1:19-cr-20450-RNS Document 146-8 Entered on FLSD Docket 10/13/2022 Page 7 of 10




                                                                                15/06/2022
Case 1:19-cr-20450-RNS Document 146-8 Entered on FLSD Docket 10/13/2022 Page 8 of 10




                                                                                15/06/2022
Case 1:19-cr-20450-RNS Document 146-8 Entered on FLSD Docket 10/13/2022 Page 9 of 10




                                                                                15/06/2022
Case 1:19-cr-20450-RNS Document 146-8 Entered on FLSD Docket 10/13/2022 Page 10 of
                                      10




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